
PER CURIAM.
Because this case, involving a noncompet-ition agreement, had been tried and was pending on appeal prior to the release of this Court’s opinion in DeVoe v. Cheatham, 413 So.2d 1141 (Ala.1982), this cause is remanded for reconsideration in light of the guidelines set forth in DeVoe, supra. Upon the trial court’s reconsideration (with or without a further evidentiary hearing, at its discretion), a report of its findings and order is due in this Court not later than 60 days from the date of the order of remand.
REMANDED WITH INSTRUCTIONS.
TORBERT, C. J., and MADDOX, JONES, SHORES and BEATTY, JJ., concur.
